  [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]
             United States Court of Appeals
                 For the First Circuit

No. 98-2157

                      UNITED STATES,

                        Appellee,

                            v.

        DAVID ANTHONY SMITH, a/k/a WAYNE JACKSON,

                  Defendant, Appellant.

       APPEAL FROM THE UNITED STATES DISTRICT COURT

             FOR THE DISTRICT OF RHODE ISLAND

         [Hon. Mary M. Lisi, U.S. District Judge]

                          Before

                  Lynch, Circuit Judge,
             Bownes, Senior Circuit Judge,
               and Lipez, Circuit Judge.

 Albert B. West on brief for appellant.
 Margaret E. Curran, United States Attorney, and Ira Belkin,
Assistant United States Attorney, on brief for appellee.

March 17, 1999

                                                Per Curiam.  Upon careful consideration of the briefs
and record, we adhere to existing precedent and so conclude
that the district court properly sentenced defendant in
accordance with the applicable statute.  8 U.S.C.  1326(b)(2);
United States v. Smith, 14 F.3d 662, 666 (1st Cir. 1994). 
          Affirmed.  See 1st Cir. Loc. R. 27.1.
